         Case 17-35649 Document 113 Filed in TXSB on 09/17/18 Page 1 of 1



                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                               ENTERED
                                                                                                09/17/2018
IN RE:                                           §
                                                 §       CASE NO: 17-35649
REGINALD CHARLES RICHARD                         §       CHAPTER 7
                                                 §
         Debtor(s).                              §       DAVID R. JONES

                                           ORDER
                                        (Docket No. 107)

        Having reviewed and considered the Debtor’s motion for new trial or reconsideration
(Docket No. 107), the response thereto (Docket No. 109), the original pleadings filed by the
parties in this case (Docket Nos. 59, 60, 72, 83 and 85), and the proceedings themselves, the
Court finds no legal or factual basis to overturn the prior order converting this case to chapter 7.
Accordingly, it is

       ORDERED THAT:

       1.      The Debtor’s motion for new trial or reconsideration is DENIED.

       SIGNED: September 17, 2018.


                                          ___________________________________
                                          DAVID R. JONES
                                          CHIEF UNITED STATES BANKRUPTCY JUDGE




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